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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE

                     Plaintiff,
                                                    15 Civ. 7433 (LAP)
-against-
                                                           ORDER
GHISLAINE MAXWELL,

                     Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

      In    light   of   the   Court’s     order   dated   October   2,    2020,

declining to construe an email to the Court from Does 1 and 2 as

a formal objection to unsealing and giving Does 1 and 2 14 days

after service of requested excerpts to file a formal objection to

unsealing (dkt. no. 1125), the transcript of Doe 1’s deposition

and materials quoting that transcript or disclosing information

from that transcript shall not be unsealed tomorrow.                 The Court

received word from the parties that Does 1 and 2 would be served

with the relevant excerpts today, after which Does 1 and 2 will

have 14 days to lodge a formal objection to unsealing.                    Should

Does 1 and 2 fail to file an objection to unsealing in that

timeframe,   the    transcript    of   Doe   1’s   deposition      and   related

materials shall be unsealed as soon as practicable after the 14-

day clock has run.

     Notwithstanding the above, the transcript of Ms. Maxwell’s

April 2016 deposition and materials quoting that transcript or

                                       1
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disclosing information from that transcript shall be posted on the

public docket no later than tomorrow, October 22, at 9:00 a.m.

SO ORDERED.

Dated:    New York, New York
          October 21, 2020


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LORETTA A. PRESKA
Senior United States District Judge




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